                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
vs.                                           )       Case No. 19-00171-01-CR-W-GAF
                                              )
MIA LEE JAMISON,                              )
                                              )
                       Defendant.             )

                                             ORDER

       On December 9, 2021, a hearing was held before United States Magistrate Judge W. Brian

Gaddy pursuant to 18 U.S.C. § 4247(d) for the purpose of determining Defendant’s mental

competency to stand trial. Doc. 42-43. Counsel for the Government, Trey Alford, Counsel for

Defendant, Martin Warhurst, and Defendant all appeared in person. Initially, counsel for the

Government and counsel for Defendant stipulated that the Court could consider Dr. Peterson’s

psychological report as if Dr. Peterson had appeared in person and testified under oath. Doc. 43 at

3. Counsel for Defendant further indicated that he, on behalf of Defendant, was not contesting the

ultimate conclusion of Dr. Peterson. Id. at 5. Subsequently, Defendant personally addressed Judge

Gaddy regarding her competency to stand trial. Id. at 9-11. Based on her statements to the Court,

it became apparent she desired to contest certain findings of Dr. Peterson. As a result, Judge Gaddy

requested testimony from Dr. Peterson and continued the competency hearing. Id. at 13.

       On January 6, 2022, the Court resumed its competency hearing. Docs. 46, 48. Counsel for

the Government, Trey Alford, counsel for Defendant, Martin Warhurst, and Defendant all

appeared in person. Id. Dr. Peterson was called for testimony and appeared via Zoom. Doc. 48 at

6. Both counsel and Defendant consented to Dr. Peterson testifying via Zoom. Id. at 6-8. Dr.
Peterson testified, under oath, that the information proffered by defense counsel regarding

Defendant’s past surgeries would not have changed his determination regarding her competency

to stand trial. Id. at 16-17. Dr. Peterson reiterated his finding that Defendant Jamison was

competent to understand the nature and consequences of the proceedings against her and to assist

properly in her defense. Id. at 18-19. He also reaffirmed that her mental disease does not “rise to

the level that it deprives her of either intelligence or cognitive capacity to prepare a defense.” Tr.

at 18.

         On January 14, 2022, United States Magistrate Judge W. Brian Gaddy issued his Report

and Recommendation. Doc. 49.

         Upon careful and independent review of the record, as well as the applicable law, and there

being no objections filed to the Report and Recommendation, this Court hereby adopts and

incorporates as its own Opinion and Order the Report and Recommendation of United States

Magistrate Judge W. Brian Gaddy.

         Accordingly, it is

         ORDERED that Defendant Mia Lee Jamison is found to be competent.



                                                              /s/ Gary A. Fenner
                                                              GARY A. FENNER, JUDGE
                                                               United States District Court
DATED:        January 31, 2022
